22-01139-mg   Doc 7-2 Filed 09/22/22 Entered 09/22/22 23:48:29      Memorandum of
                  Law in Support of Motion to Dismiss Pg 1 of 22



UNITED STATES BANKRUPTCY COURT FOR THE
SOUTHERN DISTRICT OF NEW YORK



 In re:

 CELSIUS NETWORK LLC, et al.,              Bankruptcy Case No. 22-10964-MG

                         Debtor(s).        Adversary Proceeding No. 22-01139-MG

                                           (Jointly Administered)
 CELSIUS NETWORK LIMITED and
 CELSIUS KEYFI LLC,

                         Plaintiffs,
              v.                           Hearing Date: November 30, 2022,
                                           at 10:00 a.m. (ET)
 JASON STONE and KEYFI INC.,

                         Defendants.




                   MEMORANDUM OF LAW IN SUPPORT OF
                    DEFENDANTS’ MOTION TO DISMISS
22-01139-mg               Doc 7-2 Filed 09/22/22 Entered 09/22/22 23:48:29                                               Memorandum of
                              Law in Support of Motion to Dismiss Pg 2 of 22



                                                      TABLE OF CONTENTS

TABLE OF AUTHORITIES .......................................................................................................... ii
INTRODUCTION .......................................................................................................................... 1

FACTUAL BACKGROUND ......................................................................................................... 2

   A.        The MOU ............................................................................................................................ 2

   B.        The APA and Service Agreement ....................................................................................... 3

   C.        Gross Mismanagement of Customer Funds ........................................................................ 4

   D.        Failure to Hedge.................................................................................................................. 4

   E.        Stone Resigns ...................................................................................................................... 6

LEGAL STANDARD..................................................................................................................... 7

ARGUMENT .................................................................................................................................. 8

   A.        Plaintiffs’ Turnover Claim Should Be Dismissed .............................................................. 8

        1.      Celsius Fails to Make Any Allegations against KeyFi .................................................. 10

        2.      Plaintiffs Improperly Recast This Contract Dispute as a Turnover Action .................. 10

        3.      Plaintiffs Fail to Plead the Elements of a Turnover Action .......................................... 11

   B.        Plaintiffs Fail to Allege Conversion ................................................................................. 14

   C.        Plaintiffs Fail to Allege Fraudulent Misrepresentation ..................................................... 15

   D.        The Existence of a Contract Governing the Parties’ Relationship Bars Plaintiffs’
             Claim from Unjust Enrichment. ........................................................................................ 16

   E.        The Claim for Constructive Trust Must Be Dismissed Because Constructive Trust
             Is Not a Standalone Cause of Action. ............................................................................... 17

   F.        Accounting Is a Remedy, Not a Standalone Cause of Action. ......................................... 17

CONCLUSION ............................................................................................................................. 18
22-01139-mg             Doc 7-2 Filed 09/22/22 Entered 09/22/22 23:48:29                                           Memorandum of
                            Law in Support of Motion to Dismiss Pg 3 of 22



                                               TABLE OF AUTHORITIES

Cases

Advanced Oxygen Therapy Inc. v. Orthoserve Inc.,
  572 F. Supp. 3d 26 (S.D.N.Y. 2021) ........................................................................................ 14

Ashcroft v. Iqbal,
  556 U.S. 662 (2009) .................................................................................................................... 7

Cambridge Cap. LLC v. Ruby Has LLC,
  No. 20-CV-11118 (LJL), 2022 WL 2292817 (S.D.N.Y. June 24, 2022) ................................. 16

Colavito v. N. Y. Organ Donor Network, Inc.,
  8 N.Y.3d 43 (2006) ................................................................................................................... 14

Est. of Albin v. Mertz, LLC,
  No. 05CIV3440KMWKNF, 2006 WL 8461442 (S.D.N.Y. Mar. 15, 2006) ............................ 18

Fairmount Heights Assocs., L.P. v. Greystone Servicing Corp.,
  No. 3:06-CV-1206 (WWE), 2008 WL 11481871 (D. Conn. July 14, 2008)............................ 15

In re Adelphia Commc'ns Corp.,
   331 B.R. 93 (S.D.N.Y. 2005).................................................................................................... 18

In re All Texas Elec. Contractors, Inc. v. NSPS Metals LLC,
   No. 20-34656, 2022 WL 162786 (Bankr. S.D. Tex. Jan. 18, 2022) ........................................... 8

In re Chowaiki & Co. Fine Art Ltd.,
   593 B.R. 699 (Bankr. S.D.N.Y. 2018) ...................................................................................... 17

In re Dreier LLP, 4
   52 B.R. 391 (Bankr. S.D.N.Y. 2011) .......................................................................................... 7

In re Faasoa,
   576 B.R. 631 (Bankr. S.D. Cal. 2017); ..................................................................................... 11

In re Graves,
   396 B.R. 70, (10th Cir. B.A.P. 2008), aff'd as modified, 609 F.3d 1153 (10th Cir. 2010) ......... 9

In re Minh Vu Hoang,
   452 B.R. 902 (Bankr. D. Md. 2011), aff’d, 469 B.R. 606 (D. Md. 2012) .................................. 9

In re Pali Holdings, Inc.,
   488 B.R. 841 (Bankr. S.D.N.Y. 2013) ............................................................................ 8, 13, 14

In re Seatrain Lines, Inc.,
   198 B.R. 45 (S.D.N.Y. 1996)...................................................................................................... 8



                                                                     ii
22-01139-mg             Doc 7-2 Filed 09/22/22 Entered 09/22/22 23:48:29                                           Memorandum of
                            Law in Support of Motion to Dismiss Pg 4 of 22



In re Ticketplanet.com,
   313 B.R. 46 (Bankr. S.D.N.Y. 2004) ........................................................................................ 10

In re VeraSun Energy Corp.,
   No. 08-12606 (BLS), 2013 WL 3336870 (Bankr. D. Del. June 28, 2013) ............................... 11

In re Vista Bella, Inc.,
   No. 11-00149-MAM-7, 2012 WL 3778956 (Bankr. S.D. Ala. Aug. 30, 2012) ....................... 13

In re Wildlife Ctr., Inc.,
   102 B.R. 321 (Bankr. E.D.N.Y. 1989)........................................................................................ 9

Kantian v. Counts Bank (Switzerland) Ltd.,
  193 F.3d 85 (2d Cir. 1999)........................................................................................................ 15

Kiobel v. Royal Dutch Petroleum Co.,
  621 F.3d 111 (2d Cir. 2010)........................................................................................................ 7

Lee-Walker v. N.Y.C. Dep't of Educ.,
  220 F. Supp. 3d 484 (S.D.N.Y. 2016), aff'd, 712 F. App’x 43 (2d Cir. 2017) ........................... 2

PCS Wireless LLC v. A to Z Wireless Sols. Inc.,
  841 F. Supp. 2d 649 (E.D.N.Y. 2012) ...................................................................................... 14

Remede Consulting Grp. Inc. v. Hamer,
  No. 19CV3950NGGVMS, 2021 WL 430898 (E.D.N.Y. Feb. 8, 2021) ................................... 14

Savage & Assocs., P.C. v. Mandl (In re Teligent Inc.),
  325 B.R. 134 (Bankr. S.D.N.Y. 2005) ...................................................................................... 12

Sea Star Line, LLC v. Emerald Equip. Leasing, Inc.,
  No. CIV.A.05-245-JJF, 2006 WL 214206 (D. Del. Jan. 26, 2006) .................................... 10, 11

Tears v. Bos. Sci. Corp.,
  344 F. Supp. 3d 500 (S.D.N.Y. 2018) ...................................................................................... 15

Viable Mktg. Corp. v. Intermark Commc’ns, Inc.,
  No. 09-CV-1500 JS WDW, 2011 WL 3841417 (E.D.N.Y. Aug. 26, 2011) ............................ 17

Other Authorities

Fed. R. Civ. P. 12(b)(6)................................................................................................................... 7




                                                                     iii
22-01139-mg      Doc 7-2 Filed 09/22/22 Entered 09/22/22 23:48:29                Memorandum of
                     Law in Support of Motion to Dismiss Pg 5 of 22



                                       INTRODUCTION

       Celsius hopes to distract from its gross mismanagement and Ponzi-like investment

strategy by blaming their ex-partners KeyFi and Jason Stone for Celsius’ astounding losses of

client funds. Seeking to cast their bankruptcy as anyone else’s fault, they blame KeyFi and Stone

for losses of client funds for which Celsius was responsible. Yet, as Celsius knows, KeyFi was

first forced to sue Celsius because KeyFi, like the rest of Celsius’ customers, was bilked out of

funds that Celsius promised to repay. See Dkt. 1 (“Celsius Compl.”) ¶¶ 41-42.

       Instead of providing the Court with such context, however, Celsius elides the well-pled

allegations of a lawsuit previously filed by KeyFi to have the Court believe that KeyFi and Stone

surreptitiously transferred funds on a public blockchain without their knowledge. Celsius in

effect alleges that, despite being a multi-billion-dollar crypto asset management company, it was

unaware of what a vendor was doing with over a billion dollars of customer assets. KeyFi’s

lawsuit shows otherwise: those funds were transferred pursuant to the profit-sharing agreement

that was an essential component of Celsius’ purchase of KeyFi’s assets. See Complaint, KeyFi,

Inc. v. Celsius Network Ltd. and Celsius KeyFi LLC, No. 652367/2022 (N.Y. Sup. Ct.) (“KeyFi

Compl.”) attached as Ex. 1.

       Celsius cannot avoid its contractual relationship with KeyFi or otherwise mis-categorize

the dispute as simply concerning the debtor’s estate. The dispute between Celsius and KeyFi

concerns Celsius' obligation to live up to its contractual promises and provide KeyFi with the

funds it is owed under the earn-out (and acknowledging that certain funds were already provided

to KeyFi over a year ago). This is no “turnover” matter.

       For these reasons, and the reasons set forth below, the Court should dismiss the First

(turnover), Second (conversion), Third (fraudulent misrepresentation), Fifth (unjust enrichment),

Sixth (constructive trust) and Seventh (accounting) causes of action.
22-01139-mg        Doc 7-2 Filed 09/22/22 Entered 09/22/22 23:48:29                         Memorandum of
                       Law in Support of Motion to Dismiss Pg 6 of 22



                                      FACTUAL BACKGROUND

        A.       The MOU

        In the summer of 2020, Celsius Network Limited (“Celsius”) was holding billions of

dollars in customer deposits and was obligated to pay significant interest rates to its customer

base. Given this pressing need for revenue, the potential for profitable investments in DeFi, but

the complexity of deploying such novel and unique strategies, Celsius sought Stone’s help to

invest its customer deposits into decentralized finance markets (“DeFi”). See KeyFi Compl.1

Celsius was well acquainted with Stone and KeyFi because its CEO and CTO were investors in

KeyFi. Id. ¶ 36; Celsius Compl. ¶ 17. In June 2020, Celsius and KeyFi cut a handshake deal

whereby KeyFi would manage billions of dollars in customer crypto-deposits in return for a

share of the profits. KeyFi began receiving Celsius funds on or around August 19, 2020, and

immediately invested them into DeFi markets. KeyFi Compl. ¶ 38; Celsius Compl. ¶ 20.

        KeyFi’s investment strategies were extremely profitable. KeyFi Compl. ¶¶ 46, 65.

Consequently, after just over a month of KeyFi’s management, on October 1, 2020, the parties

entered into a Memorandum of Understanding (“MOU”). Id. ¶ 46. Under the MOU, KeyFi

would continue deploying Celsius’ crypto-assets while the parties worked toward reaching two

final agreements: an Asset Purchase Agreement (“APA”) and a Service Agreement.




1
  Celsius’ complaint avoids all details regarding either KeyFi’s prior action against it or the contracts that
governed the parties relationship, but the KeyFi Complaint and its exhibits provide essential context.
Documents such as the KeyFi Complaint and the agreements it attaches as exhibits are properly
considered in a motion to dismiss. See Lee-Walker v. N.Y.C. Dep't of Educ., 220 F. Supp. 3d 484, 487
(S.D.N.Y. 2016), aff'd, 712 F. App’x 43 (2d Cir. 2017) (“When presented with a motion to dismiss
pursuant to Rule 12(b)(6), the Court may consider documents that are referenced in the complaint,
documents that the plaintiff relied on in bringing suit and that are either in the plaintiff's possession or that
the plaintiff knew of when bringing suit, or matters of which judicial notice may be taken.”). Indeed, in its
pleading, Celsius references the KeyFi Complaint, APA, and MOU. See Celsius Compl. ¶¶ 21, 41-42.


                                                       2
22-01139-mg        Doc 7-2 Filed 09/22/22 Entered 09/22/22 23:48:29                Memorandum of
                       Law in Support of Motion to Dismiss Pg 7 of 22



       According to Celsius’ Complaint, “in order to gain access to and control over valuable

Celsius coins, Stone falsely represented himself as a pioneer and expert in coin staking and

decentralized finance . . . investments.” Celsius Compl. ¶ 2. This allegation strains credibility. As

Celsius also alleges, its management—including its CEO Alex Mashinsky and CTO Nuke

Goldstein—had invested in a prior Stone business, Battlestar Capital, and had been working with

him since March 2019. Id. ¶ 17. Accordingly, Celsius’ CEO and CTO had been working with

Stone for eighteen months before acquiring Stone’s DeFi venture, KeyFi. Id. ¶¶ 17-18. The idea

that Stone duped Mashinsky is one of the many fantastical and self-serving narratives in the

Complaint that simply does not add up.

       B.         The APA and Service Agreement

       The APA and Service Agreement were executed on or around January 11, 2021, i.e.,

seven months after Stone began managing Celsius’ funds and three months after signing the

MOU. KeyFi Compl. ¶ 57, Exs. A, & B. Under the APA, KeyFi agreed to (i) contribute

substantially all of its assets to an SPV wholly owned by Celsius called Celsius KeyFi LLC

(“Celsius KeyFi”) and (ii) supply the SPV with staffing. Id. ¶ 58. Under the Service Agreement,

Celsius agreed to transfer to the SPV crypto-assets that KeyFi’s personnel would then manage

and invest. Id.

       Importantly, as part of the consideration for the purchase of KeyFi’s assets, the APA

includes a profit-sharing mechanism for KeyFi, whereby KeyFi would receive 50% of Net

Profits of Staking Coins and would receive 20% of Net Profits of Authorized Decentralized

Finance Activities. Id. ¶ 63 (citing Ex. A, APA Schedule 7.8(b) §§ 3-4). The Net Profits

calculations are to be performed in U.S. dollars (“USD”), which KeyFi estimates to be in the

hundreds of millions of dollars. Id. ¶ 65.




                                                  3
22-01139-mg      Doc 7-2 Filed 09/22/22 Entered 09/22/22 23:48:29                  Memorandum of
                     Law in Support of Motion to Dismiss Pg 8 of 22



       C.      Gross Mismanagement of Customer Funds

       Celsius admits that it “provided to Defendants the private keys to the 0xb1 wallet and

certain other Celsius-created wallets,” which, according to Celsius, gave Defendants unrestricted

access to customers deposits, without any controls or second signature requirements. Celsius

Compl. ¶ 20. In other words, by Celsius’ own admission, Stone could have absconded with

billions of dollars of dollars in deposits, never to be seen again—which he did not do.

       The fact that Celsius and Mashinsky handed over billions of dollars to Stone, without any

controls or second signature requirements, underscores two important facts about this case: First,

Celsius and Mashinsky obviously had good reasons to trust Stone, as they essentially handed him

over $1 billion of their customer assets without any meaningful controls. Second, while Celsius

makes unfounded accusations about Stone’s supposed lack of competence, the Celsius

Complaint openly concedes Celsius’ astonishing disregard for security of its customer funds.

Luckily for both Celsius and its customers, KeyFi and Stone were responsible stewards of these

funds, only ever seeking the compensation to which the parties had agreed.

       D.      Failure to Hedge

       As Celsius understood, KeyFi’s DeFi investment activities involved trading and investing

crypto-assets, sometimes generating different crypto-assets as a return. KeyFi Compl. ¶¶ 56, 63.

While this could easily create a USD profit, it could also create a paper loss in the original

crypto-asset (a form of opportunity cost called “impermanent loss”). Id. ¶¶ 68, 71. As more

thoroughly explained in the KeyFi Complaint:

               For example, if Celsius provided KeyFi with 100 ether worth
               $100,000 in total (or $1,000 per token), and KeyFi’s investments
               returned a mixture of coins comprised of 50 ether and a mix of other
               coins worth $150,000 in total, it cannot be disputed that that would
               constitute a profitable investment in USD. If, however, over the
               same period, ether’s price rose to $1,250 per token, and Celsius
               needed to convert its USD investment into ether, it would have to


                                                  4
22-01139-mg      Doc 7-2 Filed 09/22/22 Entered 09/22/22 23:48:29                 Memorandum of
                     Law in Support of Motion to Dismiss Pg 9 of 22



               use some of these USD profits to do so. If ether’s price rose even
               further, it might overtake the profits and require Celsius to use its
               own funds to purchase the ether. This potential risk, which is a
               product of Celsius’ relationships with its customers and need to
               return funds to them in the same kind as were deposited, is
               unaddressed in the parties’ agreement and thus remained with
               Celsius.

Id. ¶ 68. Celsius’ owners and managers understood the nature of DeFi and the inherent risk of

impermanent loss. On May 20, 2021, for example, CEO Alex Mashinsky wrote on Twitter that

DeFi “looks easy until you get bitten or understand the impact of impermanent loss and

volatility”:




        When Mashinsky boasted that Celsius was capable of “manag[ing] the rough waters” of

DeFi risk and impermanent loss, he meant that Celsius had the ability to hedge against the risk of

impermanent loss. Celsius, however, did not hedge against the risk of impermanent loss, and

now seeks to blame Stone and KeyFi for its own irresponsibility. Celsius Compl. ¶ 19. As KeyFi

has explained, the risk associated with Celsius’ need to return specific tokens to its customers “is

unaddressed in the parties’ agreement and thus remained with Celsius.” KeyFi Compl. ¶ 68.




                                                 5
22-01139-mg         Doc 7-2 Filed 09/22/22 Entered 09/22/22 23:48:29                              Memorandum of
                       Law in Support of Motion to Dismiss Pg 10 of 22



         E.       Stone Resigns

         By March 2021, it was clear to Stone and KeyFi that Celsius was lying about having

hedging in place, a mistake that could be financially ruinous for Celsius, its consumers, and

KeyFi’s own reputation. KeyFi Compl. ¶¶ 81, 88. In addition, Celsius had failed to make any

formal earnout (that is, profit-sharing) payments due to KeyFi under the Service Agreement,

other than allowing KeyFi to take certain small investments as early earn-out payments. Id. ¶ 89.

Accordingly, on March 9, 2021, Stone informed Celsius that he would not continue to serve as

the CEO of Celsius KeyFi. Id. ¶ 90.

         Section 7.1(b)(i) of the APA provides KeyFi with the right to an audit, as against Celsius

KeyFi, as follows:

                  Within the later to occur of fourteen (14) calendar days after any
                  payment by Buyer due under this Agreement (the “Obligation”), or
                  thirty (30) calendar days after any such scheduled payment accrued,
                  if Seller is dissatisfied with the payment, or if non payment occurs,
                  Seller may invoke an audit (the “Audit”) of Buyer’s relevant records
                  using Seller’s chosen Auditor, who shall be a nationally-licensed
                  Certified Public Accountant (CPA).

Keyfi Compl., Ex. A. Stone’s and KeyFi’s trading activities on behalf of Celsius KeyFi

generated significant profits. See Celsius Compl. ¶ 26; KeyFi Compl. ¶ 65. Stone and KeyFi

have repeatedly conveyed their eagerness for Plaintiffs to engage in this accounting—which is

Plaintiffs’ contractual duty—so that profits can be divided up. Plaintiffs refused to do so,

necessitating Stone’s and KeyFi’s legal action in New York state court.2




2
  The Celsius Complaint inexplicably and improperly outlines the parties’ failed efforts to settle this dispute without
litigation. Celsius Compl. ¶¶ 40-42. While the parties did attempt to resolve the matter without litigation, their
failure does not impugn KeyFi or Stone (although Celsius’ attempt to misuse their settlement talks may frustrate the
parties’ ability to engage in future settlement discussions).


                                                           6
22-01139-mg       Doc 7-2 Filed 09/22/22 Entered 09/22/22 23:48:29                   Memorandum of
                     Law in Support of Motion to Dismiss Pg 11 of 22



                                       LEGAL STANDARD

        Defendants move to dismiss the Complaint pursuant to Fed. R. Civ. P. 12(b)(6), which is

made applicable to this adversary proceeding by Rule 7012 of the Federal Rules of Bankruptcy

Procedure. Under Rule 12(b)(6), “a complaint must contain sufficient factual matter, accepted as

true, to state a claim to relief that is plausible on its face.” In re Dreier LLP, 452 B.R. 391, 406

(Bankr. S.D.N.Y. 2011) (internal quotations omitted). Courts must use a two-prong approach

when considering a motion to dismiss.

        “First, the court must accept all factual allegations as true,” but only after “discounting

legal conclusions clothed in the factual garb.” Id. at 407 (citing Kiobel v. Royal Dutch Petroleum

Co., 621 F.3d 111, 124 (2d Cir. 2010)). In Ashcroft v. Iqbal, 556 U.S. 662 (2009), the Supreme

Court explained that “a court considering a motion to dismiss can choose to begin by identifying

pleadings that, because they are no more than conclusions, are not entitled to the assumption of

truth.” Id. Legal conclusions “must be supported by factual allegations.” Id. at 679 “[B]are

assertions . . . [that are] nothing more than a ‘formulaic recitation of the elements’ of a . . . claim,

. . . are conclusory and not entitled to be assumed true.” Id. at 681 (quoting Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 544-45 (2007)).

        Second, the court “must determine if these well-pleaded factual allegations state a

‘plausible claim for relief.’” In re Dreier LLP, 452 B.R. at 407 (quoting Iqbal, 556 U.S. at 679).

“Courts do not make plausibility determinations in a vacuum; it is a ‘context-specific task that

requires the reviewing court to draw on its judicial experience and common sense.’” Id. (quoting

Iqbal, 556 U.S. at 679). Accordingly, “plausibility” requires “more than a sheer possibility that a

defendant has acted unlawfully.” Id. at 406 (quoting Iqbal, 556 U.S. at 678); see also id. at 407

(“The pleadings must create the possibility of a right to relief that is more than speculative.”).




                                                   7
22-01139-mg         Doc 7-2 Filed 09/22/22 Entered 09/22/22 23:48:29                              Memorandum of
                       Law in Support of Motion to Dismiss Pg 12 of 22



                                                  ARGUMENT

         A.       Plaintiffs’ Turnover Claim Should Be Dismissed

         Plaintiffs’ turnover claim should be dismissed because it is an inappropriate attempt to

recast a contract dispute concerning the APA into a turnover claim. “It is settled law that the

debtor cannot use the turnover provisions to liquidate contract disputes or otherwise demand

assets whose title is in dispute.” In re Seatrain Lines, Inc., 198 B.R. 45, 50 (S.D.N.Y. 1996)

(quotations omitted). “[T]he turnover power can be improperly invoked, especially when it is

used as a Trojan Horse for bringing garden variety contract claims; when the property in

question is not already property of the estate; or when the turnover statute is used to recover

assets with disputed title when the estate's claim of ownership is legitimately debatable.” In re

Pali Holdings, Inc., 488 B.R. 841, 852 n.39 (Bankr. S.D.N.Y. 2013).

         Celsius fails to specify whether the turnover action is brought under § 542(a) or (b) of the

Bankruptcy Code. The key difference is that § 542(a) relates to an entity in possession while

§ 542(b) relates to an entity that is not in possession but owes an undisputed debt. In re All Texas

Elec. Contractors, Inc. v. NSPS Metals LLC, No. 20-34656, 2022 WL 162786, at *5 (Bankr. S.D.

Tex. Jan. 18, 2022). Celsius contends that “at all times” it “had legal ownership and right to

possession over the 0xb1 wallet and all . . . property acquired, directly or indirectly, using such

coins or the proceeds, rents or profits thereof.” Celsius Compl. ¶ 44. In addition, the Complaint

does not attach either the APA or the Service Agreement, which would be the basis for any

contractual debt. Stone and KeyFi take this to mean that Celsius asserts a claim only for turnover

of property under § 542(a), quoted below:3



3
 To the extent Celsius contends that it seeks turnover under § 542(b), despite the allegations that it has right, title
and ownership of the disputed property, and despite Celsius’ lack of reliance on the APA or the Service Agreement,
Defendants move in the alternative for a more definite statement.


                                                           8
22-01139-mg       Doc 7-2 Filed 09/22/22 Entered 09/22/22 23:48:29                    Memorandum of
                     Law in Support of Motion to Dismiss Pg 13 of 22



                Except as provided in subsection (c) or (d) of this section, an entity,
                other than a custodian, in possession, custody, or control, during the
                case, of property that the trustee may use, sell, or lease under section
                363 of this title, or that the debtor may exempt under section 522 of
                this title, shall deliver to the trustee, and account for, such property
                or the value of such property, unless such property is of
                inconsequential value or benefit to the estate.

Under § 542(a), the Trustee may bring an action for turnover of property that was “in the

possession, custody, or control of the estate during the case. Property of the estate includes

all legal or equitable interests of the debtor in property as of the commencement of the case. §

541(a)(1).” In re Wildlife Ctr., Inc., 102 B.R. 321, 325 (Bankr. E.D.N.Y. 1989) (cleaned up).

However, “[t]he Bankruptcy Code does not expand the debtor’s interests against others, ‘and, if

those interests were limited [when the petition was filed], the trustee's rights to possession are

similarly limited.’” In re Graves, 396 B.R. 70, 75 (10th Cir. B.A.P. 2008), aff'd as modified, 609

F.3d 1153 (10th Cir. 2010).

        Property is in the estate’s possession, custody, or control “during the case” if the property

was in the estate’s possession, custody or control when the bankruptcy petition was filed or

acquired by the estate post-petition, but not where an entity receives and dissipates the debtor’s

property pre-petition. See In re Minh Vu Hoang, 452 B.R. 902, 907 (Bankr. D. Md.

2011), aff’d, 469 B.R. 606 (D. Md. 2012). “Where an entity is in possession of debtor’s property

pre-petition and transfers it pre-petition (i.e., is never in possession ‘during the case’), the entity

is not in possession of ‘property of the estate’ but was only in possession of property that would

be property of the estate if the case had been filed while the entity was in possession.” Id. A

turnover action therefore cannot be brought to recover “property or the value of such property”

that ceased to be property of the debtor prepetition.




                                                   9
22-01139-mg         Doc 7-2 Filed 09/22/22 Entered 09/22/22 23:48:29               Memorandum of
                       Law in Support of Motion to Dismiss Pg 14 of 22



               1.       Celsius Fails to Make Any Allegations against KeyFi

       The turnover claim must be dismissed as to KeyFi. Celsius’ Complaint contains only one

sentence about any alleged estate property potentially held by KeyFi, in paragraph 34: “Stone

proceeded to funnel two more Cryptopunks through 0x50dd to yet another wallet that, upon

information and belief, is owned or controlled by Defendants or their associates.” This specifies

neither what Cryptopunk is supposedly controlled by KeyFi nor what KeyFi wallet is at issue.

Celsius’ vague allegations are insufficient to state a turnover claim against KeyFi. In re

Ticketplanet.com, 313 B.R. 46, 67 (Bankr. S.D.N.Y. 2004) (“The Court is left to guess as to

which property the Trustee specifically seeks, although there is an allegation the Defendants are

improperly holding monies received from the sale of the Debtor’s antique car.”).

               2.       Plaintiffs Improperly Recast This Contract Dispute as a Turnover Action

       “Settled and controlling law holds that the presence of an active dispute over the amount

owed takes the action out of the turnover area; one cannot shortcut a breach of contract action

with a turnover demand.” Sea Star Line, LLC v. Emerald Equip. Leasing, Inc., No. CIV.A.05-

245-JJF, 2006 WL 214206, at *7 (D. Del. Jan. 26, 2006) (quoting In re Nat’l Audit Defense

Network, 332 B.R. 896 (Bankr. D. Nev.2005)).

       Shortcutting a breach of contract dispute is exactly what Plaintiffs improperly seek to do

in this adversary action. On July 7, 2022, after months of failed negotiations, Defendants filed a

lawsuit against Plaintiffs in New York state court asserting claims for breach of contract. Celsius

Compl. ¶ 42. At the heart of that dispute (and this one) is a question concerning the interpretation

of the earnout clause under the parties’ APA. See KeyFi Compl. ¶¶ 61-66. Specifically, it is

KeyFi’s position that profit under the APA was denominated in USD and therefore must be

calculated without regard to exchange rate risk between crypto asset categories. Id. If so, then

KeyFi is entitled to substantial profit sharing, including the property Celsius seeks to require


                                                 10
22-01139-mg         Doc 7-2 Filed 09/22/22 Entered 09/22/22 23:48:29                Memorandum of
                       Law in Support of Motion to Dismiss Pg 15 of 22



KeyFi to turn over. Also at issue is a factual dispute about which party was required to hedge

against exchange rate risk, i.e., impermanent loss. Celsius does not dispute that there might have

been substantial profits if hedging was put in place. Celsius Compl. ¶ 40. If Stone and KeyFi are

right concerning their interpretation of the APA, then Celsius is entitled to nothing, and

compensation is owed to Defendants.

       The presence of this “active contract dispute” takes this case out of being a proper

turnover action—even on the assumption that the NFTs, stock, security and investments

described in the Complaint were at some time Celsius property (which they were not). Star Line,

2006 WL 214206, at *7. As the Celsius Complaint makes clear, Celsius rejects its profit-sharing

obligations under the Service Agreement and refuses to provide any accounting to Defendants.

KeyFi was therefore entitled to retain that property in offset against the debt that Celsius refused

to pay. Assuming that the NFTs, stock, security, and investments described in the Complaint

were ever Celsius property, they became Defendants’ property pre-petition—or at the very least,

there is a bona fide contractual dispute about that. It follows that “this is not a proper turnover

action since [KeyFi] disputes . . . whether a rightful setoff took place.” In re Faasoa, 576 B.R.

631, 646 (Bankr. S.D. Cal. 2017); see also In re VeraSun Energy Corp., No. 08-12606 (BLS),

2013 WL 3336870, at *4 (Bankr. D. Del. June 28, 2013) (“Home Depot's denial of liability and

assertion of setoff and recoupment rights was enough to render the debt disputed.”). Celsius

cannot ignore the APA to twist this dispute into a turnover action.

               3.       Plaintiffs Fail to Plead the Elements of a Turnover Action

       The turnover count also fails because Celsius fails to plead Stone’s or KeyFi’s

“possession, custody, or control” of estate property “during the case.” The Celsius Complaint

alleges the following four kinds of property:




                                                  11
22-01139-mg      Doc 7-2 Filed 09/22/22 Entered 09/22/22 23:48:29                 Memorandum of
                    Law in Support of Motion to Dismiss Pg 16 of 22



       Allegedly “Lost” Property: The Celsius Complaint alleges that KeyFi and/or Stone has

“lost or stolen a substantial number of coins.” Celsius Compl. ¶ 28. As to coins that Stone has

allegedly lost, those coins are not in Stone’s “possession, custody, or control during the case.”

Those coins are not subject to a turnover action.

       ETH Used to Purchase NFTs: The Complaint alleges that “[o]n February 1, 2021, …

Stone used assets from the 0xb1 wallet to buy a series of NFTs called ‘Cryptopunks’—8 bit

images of cartoon figures supposedly inspired by the London punk music scene—eventually

buying a dozen or more Cryptopunks with more than 600 Celsius ETH.” Celsius Compl. ¶ 32.

According to Celsius, the 600 Celsius ETH were transferred away by Stone in exchange for the

NFT’s. It follows that, as of February 1, 2021, Stone and KeyFi did not possess or control the

underlying Celsius’ ETH. Therefore, once again, the ETH in question was not in Stone’s

“possession, custody, or control during the case.” Accordingly, this ETH is not subject to a

turnover action. See Savage & Assocs., P.C. v. Mandl (In re Teligent Inc.), 325 B.R. 134, 137

(Bankr. S.D.N.Y. 2005) (“[P]roperty that has been fraudulently or preferentially transferred does

not become property of the estate until it has been recovered.”).

       NFTs: According to Celsius, “Defendants began to use Celsius coins to buy hundreds of

non-fungible tokens.” Celsius Compl. ¶ 3. However, property that Stone and KeyFi allegedly

acquired prepetition with Celsius ETH is not Celsius property, for two separate reasons.

       First, under Section 3 of the Service Agreement, only “coins deployed by KEYFI” and

“revenues” (i.e., money and arguably crypto) are owned by Celsius. NFT’s, stock, security, or

investment interests derived from Celsius crypto were not property of Celsius—and therefore did

not become property of the estate. Moreover, there is no extra-contractual basis for treating the

NFTs as Celsius property or property of the estate.




                                                 12
22-01139-mg      Doc 7-2 Filed 09/22/22 Entered 09/22/22 23:48:29                   Memorandum of
                    Law in Support of Motion to Dismiss Pg 17 of 22



       Second, as the KeyFi Complaint makes clear, KeyFi’s interest in these NFTs was freely

given by Celsius during the time they worked together, and thus was (and remains) property of

KeyFi. See KeyFi Compl. ¶ 89. In effect, the “turnover” claim against KeyFi and Stone amounts

to Celsius attempting to claw back earnings that it provided KeyFi and Stone many months pre-

petition. See Pali Holdings, 488 B.R. at 852 n.39 (“[T]he turnover power can be improperly

invoked, especially when it is used as a Trojan Horse for bringing garden variety contract claims;

when the property in question is not already property of the estate; or when the turnover statute is

used to recover assets with disputed title when the estate's claim of ownership is legitimately

debatable.”). Further, as explained in the KeyFi Complaint, the NFTs at issue in this case

constitute consideration paid to Stone and KeyFi for services rendered under the APA and the

Service Agreement. Title to those assets is at the very least “legitimately debatable” and

therefore not the proper subject of a turnover action.

       Equity in Nifty’s: The Celsius Complaint alleges that “Stone used Celsius assets to

acquire interests in a company called “Nifty’s” by investing in a “pre-seed” round” and that

“Stone also used Celsius property directly or indirectly to acquire interests in other companies,

platforms and ventures.” Celsius Compl. ¶ 35. As with the NFTs, even assuming that Stone used

Celsius assets to pay the purchase price for company stock, title to that stock did not

automatically pass to Celsius. Title is held by Stone and is not subject to “turnover” just because

Celsius alleges that it is traceable to former Celsius property. See In re Vista Bella, Inc., No. 11-

00149-MAM-7, 2012 WL 3778956 (Bankr. S.D. Ala. Aug. 30, 2012) (to the extent property

might arguably be subject to a constructive trust it is not yet property of the estate).

       In sum, the Celsius Complaint fails to allege that Stone or KeyFi held any property, as of

the commencement of this adversary case, in which Celsius had any legal or equitable interest.




                                                  13
22-01139-mg      Doc 7-2 Filed 09/22/22 Entered 09/22/22 23:48:29                  Memorandum of
                    Law in Support of Motion to Dismiss Pg 18 of 22



Instead, the turnover claim amounts to no more than a “Trojan Horse for bringing garden variety

contract claims” and must be dismissed with prejudice. Pali Holdings, 488 B.R. at 852 n.39

       B.      Plaintiffs Fail to Allege Conversion

       The key elements of conversion are (1) plaintiff's possessory right or interest in the

property and (2) defendant’s dominion over the property or interference with it, in derogation of

plaintiff's rights. Colavito v. N. Y. Organ Donor Network, Inc., 8 N.Y.3d 43, 50 (2006). As with

the turnover claim, the Celsius Complaint fails to make any allegations with respect to KeyFi (as

opposed to Stone). This count must be dismissed as to KeyFi.

       Furthermore, to the extent that the Celsius Complaint had made allegations as to KeyFi,

that claim must be dismissed because the complaint improperly twists a contract dispute into a

tort. Under New York law, “a claim of conversion cannot be predicated on a mere breach of

contract and where there are no independent facts alleged arising to a tort claim.” PCS Wireless

LLC v. A to Z Wireless Sols. Inc., 841 F. Supp. 2d 649, 653 (E.D.N.Y. 2012). “[T]he court must

dismiss any conversion claim that is ‘predicated on a mere breach of contract’ absent

‘independent facts sufficient to give rise to tort liability.’” Remede Consulting Grp. Inc. v.

Hamer, No. 19CV3950NGGVMS, 2021 WL 430898, at *5 (E.D.N.Y. Feb. 8, 2021) (quoting

Fesseha v. TD Waterhouse Inv’r Servs., Inc., 305 A.D.2d 268, 269 (1st Dep’t 2003)).

“[A] tort claim will not arise ‘where plaintiff is essentially seeking enforcement of the bargain.’”

Advanced Oxygen Therapy Inc. v. Orthoserve Inc., 572 F. Supp. 3d 26, 38 (S.D.N.Y. 2021)

(quoting In re Chateaugay Corp., 10 F.3d 944, 958 (2d Cir. 1993)).

       As explained above, this case rises and falls on the rights articulated in the APA.

Relevant to that dispute is whether KeyFi validly retained crypto assets under the earnout clause

of APA and the Service Agreement, with the knowledge and agreement of Celsius officers such




                                                 14
22-01139-mg      Doc 7-2 Filed 09/22/22 Entered 09/22/22 23:48:29                   Memorandum of
                    Law in Support of Motion to Dismiss Pg 19 of 22



as Mashinsky. But the disputed rights governing all transfers at issue in this litigation all rise and

fall from the APA.

       Celsius knows full well that this is a contract dispute. That is why Celsius went out of its

way not to plead breach of contract. But Celsius’ failure to plead the correct cause of action does

not transform this into a tort or turnover action. For this additional reason, the conversion claim

must be dismissed.

       C.       Plaintiffs Fail to Allege Fraudulent Misrepresentation

       On a claim for fraudulent misrepresentation, the plaintiff must allege facts illustrating

“a misrepresentation or a material omission of fact which was false and known to be false by

defendant, made for the purpose of inducing the other party to rely upon it, justifiable reliance of

the other party on the misrepresentation or material omission, and injury.” Tears v. Bos. Sci.

Corp., 344 F. Supp. 3d 500, 514 (S.D.N.Y. 2018) (quoting Mandarin Trading Ltd. v.

Wildenstein, 16 N.Y.3d 173, 178 (2011)). A claim for fraudulent misrepresentation is subject to

the heightened pleading standard requirement of Federal Rule of Civil Procedure 9(b).

Fairmount Heights Assocs., L.P. v. Greystone Servicing Corp., No. 3:06-CV-1206 (WWE), 2008

WL 11481871, at *2 (D. Conn. July 14, 2008). “In order to satisfy Rule 9(b), a complaint must:

1) specify the statements that the plaintiff contends were fraudulent; 2) identify the speaker; 3)

state where and when the statements were made; and 4) explain why the statements were

fraudulent.” Kantian v. Counts Bank (Switzerland) Ltd., 193 F.3d 85, 88 (2d Cir. 1999).

       The Complaint does not come close to meeting the standards of Rule 9(b). It only

generally pleads that KeyFi and Stone “misrepresented their skill and experience in DeFi and

staking activities and concealed their actual activities.” Celsius Compl. ¶ 57. Noticeably absent

from the complaint are any allegations of:

            •   specific statements that the Celsius contends were fraudulent;


                                                  15
22-01139-mg         Doc 7-2 Filed 09/22/22 Entered 09/22/22 23:48:29                 Memorandum of
                       Law in Support of Motion to Dismiss Pg 20 of 22



               •   where and when the statements were made; or

               •   why the statements were fraudulent.

For example, the Complaint alleges that Stone made “express assurances that he would hedge

against any risk from price movements.” Id. ¶ 19. But the Complaint fails to allege what Stone

actually said, much less where and when the statement was made.

          The Complaint alleges that Stone “falsely represented himself as a pioneer and expert in

coin staking and decentralized finance investments.” Id. ¶ 2. Again, the Complaint fails to allege

what specific statement Stone made, where or when he made it. Moreover, calling oneself a

“pioneer” is not the sort of factual assertion upon which fraud can be based. See Cambridge Cap.

LLC v. Ruby Has LLC, No. 20-CV-11118 (LJL), 2022 WL 2292817, at *5 (S.D.N.Y. June 24,

2022) (noting that vague adjectives are mere puffery which cannot form the basis of a fraud

claim).

          The Complaint also fails to allege the basis for Plaintiffs’ “justifiable reliance” on any

allegedly false statements by Stone or KeyFi. Indeed, the Complaint itself describes Mashinsky

and Goldstein’s 18-month relationship with Stone and a company he founded prior to KeyFi.

Furthermore, all of KeyFi’s investment activities were readily trackable on the public

blockchain, such that Celsius did not need to rely on any statements of KeyFi or Stone to track

the investments. Instead, Celsius could see them on the public blockchain—and indeed could

exercise control over the investments to the extent Celsius maintained access and control over

the 0xb1 address. See Celsius Compl. ¶ 20 (noting that Celsius created the 0xb1 wallet for KeyFi

to use and then provided access to the wallet, though it maintained the private keys). For this

additional reason, the Court should dismiss Plaintiffs’ claim for fraudulent misrepresentation.

          D.       The Existence of a Contract Governing the Parties’ Relationship Bars




                                                    16
22-01139-mg       Doc 7-2 Filed 09/22/22 Entered 09/22/22 23:48:29                 Memorandum of
                     Law in Support of Motion to Dismiss Pg 21 of 22



                Plaintiffs’ Claim from Unjust Enrichment.

        “The existence of a valid and enforceable written contract governing a particular subject

matter ordinarily precludes recovery [for unjust enrichment] for events arising out of the same

subject matter.” Viable Mktg. Corp. v. Intermark Commc’ns, Inc., No. 09-CV-1500 JS WDW,

2011 WL 3841417, at *2 (E.D.N.Y. Aug. 26, 2011) (quoting Am. Med. Assoc. v. United

Healthcare Corp., No. 00–CV–2800, 2007 WL 683974, at *9 (S.D.N.Y. Mar. 5, 2007)). “This

doctrine clearly bars unjust enrichment claims when both parties to the lawsuit are also parties to

the contract itself.” Id. Plaintiffs concede that they, and the Defendants, are parties to the MOU,

the Services Agreement, and the APA. Celsius Compl. ¶ 21. Every single act alleged in the

Complaint would, to the extent it is actionable, give rise to a claim for breach of contract under

one of those agreements. Celsius cannot elide its agreements by invoking equitable remedies

when a valid contract governs all of the parties’ relationships. Therefore, the claim for unjust

enrichment must be dismissed with prejudice.

        E.      The Claim for Constructive Trust Must Be Dismissed Because Constructive
                Trust Is Not a Standalone Cause of Action.

        Plaintiffs label their sixth cause of action a claim for “constructive trust.” However, that

is a remedy, not a proper cause of action, and therefore the Sixth Count should be dismissed with

prejudice. In re Chowaiki & Co. Fine Art Ltd., 593 B.R. 699, 719 (Bankr. S.D.N.Y. 2018).

Indeed, because Plaintiffs’ fail to state a cause of action for unjust enrichment, which is the

“predicate injury” to invoke the remedy of constructive trust, even the remedy of constructive

trust is unavailable. Id.

        F.      Accounting Is a Remedy, Not a Standalone Cause of Action.

        “Courts in this judicial district have held that claims that pertain only to remedies are not

independent causes of action and should be dismissed.” Est. of Albin v. Mertz, LLC, No.



                                                  17
22-01139-mg      Doc 7-2 Filed 09/22/22 Entered 09/22/22 23:48:29                 Memorandum of
                    Law in Support of Motion to Dismiss Pg 22 of 22



05CIV3440KMWKNF, 2006 WL 8461442, at *10 (S.D.N.Y. Mar. 15, 2006) (citations omitted).

In circumstances like this, courts have found claims for “accounting” to be “remedies and not

claims” because if the Plaintiff “ultimately prevails, he will be entitled to damages and a

damages calculation will have to be performed” but that fact does not support an accounting as a

standalone claim. In re Adelphia Commc'ns Corp., 331 B.R. 93, 100 (S.D.N.Y. 2005). This cause

of action must also be dismissed with prejudice.

                                         CONCLUSION

       For the foregoing reasons, the Court should dismiss the First (turnover), Second

(conversion), Third (fraudulent misrepresentation), Fifth (unjust enrichment), Sixth (constructive

trust) and Seventh (accounting) causes of action as to all Defendants.


Dated: September 22, 2022                             ROCHE FREEDMAN LLP

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                                                 18
